 1   TINA WOLFSON (SBN 174806)
     twolfson@ahdootwolfson.com
 2   ROBERT AHDOOT (SBN 172098)
 3   rahdoot@ahdootwolfson.com
     AHDOOT & WOLFSON, PC
 4   2600 W. Olive Avenue, Suite 500
     Burbank, CA 91505-4521
 5   Tel: 310.474.9111; Fax: 310.474.8585

 6   ANDREW W. FERICH (pro hac vice)
     aferich@ahdootwolfson.com
 7   AHDOOT & WOLFSON, PC
     201 King of Prussia Road, Suite 650
 8   Radnor, PA 19087
     Tel: 310.474.9111; Fax: 310.474.8585
 9
10   Attorneys for Plaintiffs and the Proposed Class
     in Beyer, et al. v. Flagstar Bancorp, Inc., et al.,
11   No. 5:21-cv-02239-EJD

12                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
13                                      SAN JOSE DIVISION
14
      IN RE ACCELLION, INC. DATA                           Case No. 5:21-cv-01155-EJD
15    BREACH LITIGATION
                                                       PLAINTIFFS GRACE BEYER,
16                                                     CHRISTOPHER HAUSER, CHARLES
      This Document Relates to:                        TYER, AND STEFANIE BURTON’S
17                                                     NOTICE OF MOTION AND MOTION FOR
      Beyer, et al. v. Flagstar Bancorp, Inc., et al., PRELIMINARY APPROVAL OF CLASS
18    No. 5:21-cv-02239-EJD                            ACTION SETTLEMENT WITH
                                                       FLAGSTAR BANK DEFENDANTS;
19                                                     MEMORANDUM OF POINTS AND
                                                       AUTHORITIES
20
                                                           DATE:       December 8, 2022
21                                                         TIME:       9:00 A.M.
                                                           JUDGE:      Hon. Edward J. Davila
22                                                         CTRM:       4, 5th Floor

23                                                         [Class Action Settlement Agreement and the
                                                           Declarations of Cameron Azari, Robert
24                                                         Siciliano, and Tina Wolfson filed concurrently
                                                           herewith]
25
26
27
28

                            PLAINTIFFS BEYER, HAUSER, TYER, AND BURTON’S NOTICE OF MOTION AND
                                MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                            No. 5:21-cv-01155-EJD
 1
                                 NOTICE OF MOTION AND MOTION
 2
     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3
             PLEASE TAKE NOTICE that on December 8, 2022, at 9:00 a.m., in Courtroom 4 of the
 4
     United States District Court for the Northern District of California, Robert F. Peckham Federal
 5
     Building & United States Courthouse, 280 South 1st Street, San Jose, 95113, the Honorable Edward
 6
     J. Davila presiding, Plaintiffs Grace Beyer, Christopher Hauser, Charles Tyer, and Stefanie Burton
 7
     will and hereby do move for an Order granting Preliminary Approval of the Class Action Settlement
 8
     with the Flagstar Bank Defendants in this matter.
 9
             This motion is based upon this Notice of Motion and Motion, the supporting Memorandum
10
     set forth below, the attached declarations and exhibits, the pleadings and records on file in this
11
     action, and other such matters and argument as the Court may consider at the hearing of this motion.
12

13                                                 Respectfully submitted,

14   Dated: September 6, 2022                   By: /s/ Tina Wolfson
                                                   TINA WOLFSON (SBN 174806)
15                                                 twolfson@ahdootwolfson.com
                                                   ROBERT AHDOOT (SBN 172098)
16                                                 rahdoot@ahdootwolfson.com
                                                   AHDOOT & WOLFSON, PC
17                                                 2600 W. Olive Avenue, Suite 500
18                                                 Burbank, CA 91505-4521
                                                   Tel: 310.474.9111; Fax: 310.474.8585
19
                                                   ANDREW W. FERICH (pro hac vice)
20                                                 aferich@ahdootwolfson.com
                                                   AHDOOT & WOLFSON, PC
21                                                 201 King of Prussia Road, Suite 650
                                                   Radnor, PA 19087
22                                                 Tel: 310.474.9111; Fax: 310.474.8585
23                                                 Attorneys for Plaintiffs in Beyer, et al. v. Flagstar
24                                                 Bancorp, Inc., et al., No. 5:21-cv-02239-EJD

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                               MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                      BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.        STATEMENT OF THE ISSUES TO DECIDED

 3             Whether the proposed $5.9 million non-reversionary Settlement warrants: (a) preliminary

 4   approval; (b) certification of a Settlement Class; (c) dissemination of Notice to the Settlement Class

 5   Members (“Class Members”) of the Settlement’s terms; (d) appointment of Tina Wolfson, Robert

 6   Ahdoot, and Andrew W. Ferich of Ahdoot & Wolfson, PC as Class Counsel and of Plaintiffs Grace

 7   Beyer, Christopher Hauser, Charles Tyer, and Stefanie Burton (“Settling Plaintiffs” or “Plaintiffs”)

 8   as Class Representatives; and (e) setting a Final Approval Hearing and a hearing to consider any

 9   application for Service Payments, attorneys’ fees, and reimbursement of expenses.

10       II.   INTRODUCTION

11             Settling Plaintiffs request that the Court preliminarily approve the concurrently filed class

12   action Settlement (“Settlement” or “SA”) with Defendants Flagstar Bancorp, Inc. and Flagstar

13   Bank, FSB (collectively, “Flagstar”) that would resolve all class claims against only Flagstar, on

14   behalf of nearly 1.48 million Class Members relating to Accellion, Inc.’s (“Accellion”) File

15   Transfer Appliance (“FTA”) Data Breach (the “FTA Data Breach”).1

16             The Settlement and preliminary approval motion was initially filed on September 3, 2021,

17   and previously set for a hearing for January 20, 2022. Beyer, et al. v. Flagstar Bancorp, Inc., et al.,

18   No. 5:21-cv-02239-EJD (“Beyer”), ECF Nos. 54, 55. The preliminary approval hearing was

19   subsequently continued to May 19, 2022 (Beyer, ECF No. 65), but was vacated when the Court

20   granted a motion to consolidate all Accellion breach cases pending before this Court (ECF No. 91).

21             The Settlement should be approved because it is fair, reasonable, and adequate. The

22   Settlement would establish a non-reversionary cash fund of $5.9 million to pay for valid claims,

23   notice and administration costs, any Service Payments to Class Representatives, and any attorneys’

24   fees and costs awarded by the Court. All Class Members may submit Claims for Benefits. Claimants

25   may elect to receive: (1) three years of Credit Monitoring and Insurance Services (“CMIS”); (2) a

26   payment for reimbursement of Documented Losses of up to $10,000; or (3) a cash payment,

27
     1
      All capitalized terms not separately defined herein have the meaning ascribed to them in the
28   Settlement Agreement.
                                                   -1-
               MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                    BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                          No. 5:21-cv-01155-EJD
 1   calculated in accordance with the terms of the Settlement Agreement (with double the amount to

 2   California residents because of the statutory claims available to them), estimated at $632 to $199

 3   for California Claimants, and $316 to $99 for all other Claimants (at 1% to 3% claims rates). The

 4   Settlement also provides for five years of robust injunctive relief commencing after the Effective

 5   Date. Flagstar has also agreed to certify compliance with these injunctive relief measures.

 6            The Settlement is the product of arduous, arms-length negotiations between experienced

 7   counsel after comprehensive investigation and exchange of information, two mediation sessions with

 8   Judge Jay C. Gandhi (Ret.) of JAMS, substantial discovery, and numerous hours of meet and confers

 9   and negotiations undertaken in finalizing the Settlement details.

10            The Settlement (i) resolves claims against the Flagstar Defendants and their Released

11   Parties only, and not Accellion; (ii) delivers tangible benefits that address all potential harms of the

12   FTA Data Breach without protracted litigation and its attendant risks; and (iii) compares favorably

13   to previous settlements and delivers a fair, adequate, and reasonable resolution for the Class. Fed. R.

14   Civ. P. 23(e)(2). Plaintiffs respectfully contend that it should be preliminarily approved.

15    III.    BACKGROUND

16            A.      The FTA Data Breach and Subsequent Litigation

17            In late 2020 and early 2021, Accellion began disclosing to its FTA clients that threat actors

18   had breached Accellion client data via vulnerabilities in the FTA. Second Amended Class Action

19   Complaint (“SAC”), Beyer, ECF No. 50, ¶¶ 2-8. These threat actors were then able to allegedly steal

20   sensitive data from many Accellion clients. Id. ¶ 35. During the FTA Data Breach, hackers accessed

21   Flagstar’s files containing Plaintiffs’ and Class Members’ sensitive PII. Id. ¶¶ 41-48.

22            On or about March 6, 2021, Flagstar publicly acknowledged that it was one of the Accellion

23   clients impacted by the FTA Data Breach. Id. ¶ 43. Flagstar confirmed that the PII of 1,477,411

24   Flagstar customers (including Persons whose mortgages are serviced by Flagstar) and employees

25   was compromised. Concurrently filed Declaration of Tina Wolfson (“Wolfson Decl.”) ¶ 28(g). The

26   affected PII included names, home and email addresses, dates of birth, phone numbers, Social

27   Security numbers, passport information, and account information. Beyer, ECF No. 50, ¶ 1.

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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                        No. 5:21-cv-01155-EJD
 1            Beyer was initially filed on March 30, 2021. Id., ECF No. 1. An Amended Complaint was

 2   filed on April 23, 2021 (id., ECF No. 24), and the SAC was filed on September 1, 2021 (id., ECF

 3   No. 50). All Plaintiffs received Flagstar’s notification regarding the compromise of their PII as a

 4   result of the FTA Data Breach. Id., ECF No. 50, ¶¶ 13-16. The SAC alleges claims for negligence,

 5   negligence per se, breach of contract, invasion of privacy, unjust enrichment, and violations of the

 6   California Consumer Privacy Act (“CCPA”), California Customer Records Act, California Unfair

 7   Competition Law, California Consumers Legal Remedies Act, Utah Consumer Sales Practices Act,

 8   Texas Deceptive Trade Practices Act, and Michigan Consumer Protection Act. Id. ¶¶ 84-215.

 9            Following commencement of this action, counsel for the Parties began a dialogue about

10   case management issues and engaged in multiple meet-and-confer discussions. Wolfson Decl. ¶ 13.

11   Settling Plaintiffs’ counsel already had been engaging in efforts to coordinate all FTA Data Breach

12   class actions filed in this District. Id. When efforts to consolidate by stipulation failed, in an effort

13   to coordinate and organize the FTA Data Breach litigation, Ahdoot & Wolfson filed a motion to

14   consolidate (“Motion to Consolidate”) the numerous FTA Data Breach-related class actions pending

15   before this Court. ECF No. 37 (filed April 7, 2021). The Court granted the Motion to Consolidate

16   on March 14, 2022. ECF No. 91.

17            Prior to the consolidation Order (id.), on September 3, 2021, Plaintiffs filed their initial

18   motion for preliminary approval, seeking Court approval of this class action Settlement that would

19   resolve all claims against Flagstar, but not the claims in any other case, or against Accellion or any

20   other defendants related to the FTA Data Breach. Beyer, ECF Nos. 54, 55.2 The initial preliminary

21   approval motion filed in Beyer was set for a January 20, 2022 hearing. Id., ECF No. 54.

22            While preliminary approval was pending in Beyer, the Court consolidated the FTA Data

23   Breach cases and vacated all motion hearing dates. ECF No. 91. The Court has now granted a hearing

24   date for this preliminary approval motion for December 8, 2022.

25   2
       The Settlement, if approved, would also release all claims against Flagstar in related cases: (i)
     Angus, et al. v. Flagstar Bank, FSB, No. 2:21-cv-10657-AJT-DRG (E.D. Mich.) (“Angus”, which
26   was consolidated with three other cases filed against Flagstar in the Eastern District of Michigan—
     Garcia v. Flagstar Bank, FSB, No. 2:21-cv-10671-AJT-DRG, Burdick v. Flagstar Bank, FSB, No.
27   2:21-cv-10786-AJT-DRG, and Hawkins, et al. v. Flagstar Bank, No. 2:21-cv-11165-AJT-DRG
     (“Hawkins”); and (ii) Pollard v. Accellion, Inc., et al., No. 5:21-cv-02572-EJD (N.D. Cal.)
28   (“Pollard”), pending before this Court.
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                        No. 5:21-cv-01155-EJD
 1            B.      Mediation and Settlement Negotiations

 2            As discussed supra, as a result of continued meet-and-confer efforts, the Parties reached

 3   an agreement to participate in mediation to attempt to resolve this matter. Wolfson Decl. ¶ 17. Prior

 4   to mediation, the Parties exchanged information to prepare for and facilitate a productive mediation.

 5   Id. ¶ 18. The Parties also exchanged and submitted to the mediator detailed confidential mediation

 6   briefs. Id. Plaintiffs received and analyzed data from Flagstar relating to the impact of the FTA Data

 7   Breach, including specific information concerning the categories of individuals who received breach

 8   notification letters from Flagstar (e.g., customers, employees), the nature of the PII impacted, and

 9   the number of potential class members impacted. Id.

10            On July 13, 2021, the Parties participated in the first mediation session with Judge Gandhi.

11   Id. ¶ 19. Counsel for Plaintiffs in the related Michigan action (see supra, n.2, and infra, Sec. III.D.),

12   Angus, attended the mediation. Id. The Parties, however, were not able to reach an agreement to

13   settle this matter at this mediation. Id. In the weeks following the first mediation session, counsel for

14   the Parties continued their dialogue regarding settlement and ultimately agreed to return to

15   mediation. Id.

16            The second mediation took place on July 26, 2021 with Judge Gandhi. Id. ¶ 20. Counsel

17   for Angus was not invited and did not attend. Id. After many hours, Judge Gandhi proposed a double-

18   blind mediator’s proposal of a $5.9 million non-reversionary common fund, which the Parties

19   mutually accepted. Id. Following the mediation, the Parties continued to negotiate the other myriad

20   terms of the Settlement. Id. ¶ 21.

21            Plaintiffs’ counsel solicited competing bids and negotiated with three separate third-party

22   administrators for settlement notice and administration. Id. ¶ 22. The Parties ultimately agreed on

23   Epiq Class Action and Claims Solutions, Inc. (“Epiq”), which estimates that the total administration

24   and notice charges in this matter will be approximately $442,000 to $475,000. Id. This estimate is

25   reasonable in the context of this proposed Settlement, and includes all costs associated with notice

26   and administration of the Settlement. Id. Plaintiffs’ counsel also solicited competing bids from

27   alternative providers of CMIS. Id. ¶ 23 and Ex. 1; see also SA § 4.2.1.

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                                                       -4-
             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                        No. 5:21-cv-01155-EJD
 1             During the Settlement negotiations, the Parties deferred any discussion concerning the

 2   maximum Service Payments to be sought by the proposed Class Representatives until after reaching

 3   an agreement on all material terms of the Settlement. Wolfson Decl. ¶ 36. There has been no

 4   negotiation and no agreement as to the amount of attorneys’ fees and expenses. Id. All negotiations

 5   were conducted at arm’s length, in good faith, free of any collusion, and under the supervision of

 6   Judge Gandhi. Id. ¶ 32. After comprehensive negotiations and diligent efforts, the Parties finalized

 7   the terms of the Settlement, and now seek preliminary approval of the Settlement from the Court.

 8             C.      Information Obtained Through Confirmatory Discovery

 9             Prior to attending the mediation, Plaintiffs conducted a thorough investigation and received

10   requested information from Flagstar informally. Wolfson Decl. ¶ 28. The Parties engaged in detailed

11   confirmatory discovery, which established the following facts:

12             Flagstar is a national, full-service bank that must comply with governing cybersecurity and

13   data privacy regulations, including those from the Office of the Comptroller of the Currency (OCC),

14   the Gramm-Leach-Bliley Act (GLBA), and the Federal Financial Institutions Examinations Council

15   (FFIEC). Id. ¶ 28(a). Flagstar entered into an agreement with Accellion in 2015 to license the FTA

16   and renewed the FTA license through 2020. Id. ¶ 28(b). Flagstar understood that Accellion’s FTA

17   would enable Flagstar to safely and securely transfer large files containing sensitive information,

18   including PII, using industry-standard encryption, and Flagstar knew that many other major

19   businesses, including financial institutions, used the FTA platform. Id.

20             In 2020, Flagstar decided to migrate from the FTA platform to Kiteworks (Accellion’s

21   newer FTA product) for the 2021 calendar year. Wolfson Decl., ¶ 28(b). Flagstar states that the

22   decision to migrate to Kiteworks was based on new functionality, and because Accellion informed

23   Flagstar that the FTA platform would eventually be decommissioned, though Accellion did not

24   disclose to Flagstar when that would happen. Id. Flagstar also confirmed that Accellion was still

25   supporting FTA under a support contract, and that the migration to Kiteworks was underway on

26   January 20, 2021. Id. According to Flagstar, it had no reason to believe the FTA product was not

27   secure or ill-suited for the purpose of providing securing file transfers, or that it was susceptible to a

28   breach. Id.
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                        No. 5:21-cv-01155-EJD
 1             According to Flagstar, in December 2020, threat actors exploited multiple zero-day

 2   vulnerabilities in the FTA, but Accellion was able to patch this first attack. Wolfson Decl. ¶ 28(c).

 3   On January 12, 2021, Accellion’s CISO Frank Balonis confirmed that the December breach was

 4   contained, patched, and that Flagstar was not impacted at this juncture. Id. Accellion later reported

 5   to Flagstar that, on January 20, 2021, threat actors subsequently exploited two more zero-day

 6   vulnerabilities as part of a continued attack, enabling the threat actors to exfiltrate data stored on the

 7   FTA systems of Accellion’s clients. Id.

 8             On January 22, Flagstar received a security alert from Accellion, which caused the bank to

 9   permanently stop use of the FTA. Wolfson Decl. ¶ 28(d). On January 23, Accellion provided Flagstar

10   with a list of malicious IP addresses, and Flagstar promptly blocked those addresses from its systems.

11   Id. On January 24, Accellion confirmed that all four of its servers were compromised by the second

12   exploit. Id. At that time, Accellion did not have the tools yet to identify if an actual breach of data

13   had occurred. Id. Flagstar engaged a third-party security incident response vendor to conduct

14   additional forensics to determine whether data was exfiltrated. Id. Separately, Accellion hired

15   Mandiant, a U.S. based cyber security firm, to conduct a forensic analysis, and later posted its report

16   on the Accellion website.3 Flagstar’s post-breach analyses of the FTA system confirmed that Flagstar

17   was breached between January 20 and 22. Id. ¶ 28(d).

18             Between January 26 and 28, Accellion provided Flagstar with a log of files that had been

19   downloaded from the FTA during the breach, and Flagstar engaged Kroll to investigate the breach

20   and perform a detailed forensic review of the FTA. Wolfson Decl. ¶ 28(e). On January 27, Flagstar’s

21   Chief Information Security Officer and Privacy Officer, Zahira Gonzalvo, informed the Office of

22   the Comptroller of Currency (OCC) of the breach and Flagstar’s remediation steps. Id. That same

23   day, a threat actor demanded a ransom. Id. On January 29, Ms. Gonzalvo filed a criminal complaint

24   with the FBI reporting the ransom demand. Id. On March 6, after Flagstar’s third-party forensic

25   experts determined the extent of the information compromised in the breach, Flagstar publicly

26
27   3
        ACCELLION, INC., FILE TRANSFER APPLIANCE (FTA) SECURITY ASSESSMENT, (2021),
     www.accellion.com/sites/default/files/trust-center/accellion-fta-attack-mandiant-report-full.pdf (last
28   accessed Sept. 1, 2022).
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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 1   announced the data breach in an email to customers. Id. ¶ 28(f). Flagstar began sending out data

 2   breach notification letters to impacted persons in mid-March 2021. Id.

 3             Flagstar identified and sent notices to 1,477,411 individuals whose PII was compromised

 4   in the breach. Wolfson Decl. ¶ 28(g). The PII exposed varies by individual but in many cases

 5   included name (all individuals, though some are first name only), Social Security Number

 6   (1,463,707 individuals), address (1,343,678 individuals), phone number (932,926 individuals), and

 7   account number (628,605 individuals). Id. A smaller number of individuals had their email address

 8   (13,617 individuals), date of birth (10,129 individuals), credit card number (238 individuals), and

 9   passport number (29 individuals) exposed. Id. Within California, Flagstar identified and sent notices

10   to 257,660 individuals whose PII was compromised in the breach, which included 256,993

11   individuals whose exposed PII included Social Security Number. Id. The overall affected population

12   included approximately 6,901 current and former employees of Flagstar whose PII was exposed

13   from employee data files that were on the Accellion FTA. Id. Flagstar secured the services of Kroll

14   to provide identity monitoring services, including credit monitoring, fraud consultation, and identity

15   theft restoration, to affected individuals at no cost for two years. Id. ¶ 28(h).

16             In response to the FTA Data Breach and in connection with the proposed Settlement,

17   Flagstar has taken or is taking the following steps to strengthen the security of its systems:

18   confirming termination of the FTA platform, which was discontinued on January 23, 2021;

19   migrating to Kiteworks by February 12, 2021, and soliciting bids for alternative solutions to

20   Accellion’s products; implementing additional automated compliance with Flagstar’s data retention

21   policies on file-sharing platforms to ensure data will be auto-deleted after 30 days; deploying

22   additional endpoint detection response tools, which provide Flagstar with an added layer of visibility

23   to potential cybersecurity anomalies; and requesting Flagstar’s managed security services provider

24   to add at least daily threat-hunting services to detect any Flagstar data exposed on the dark web.

25   Wolfson Decl. ¶ 28(i); see also SA § 4.1.

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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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 1            D.        The Related Michigan Litigation Is Stayed Pending This Settlement

 2            The related Angus litigation, pending in the Eastern District of Michigan, is stayed pending

 3   the disposition of this Settlement. Angus ECF No. 46.4

 4            On June 14, 2021, the attorneys in Angus filed a Consolidated Class Action Complaint. Id.

 5   ECF No. 18. On June 26, 2021, the attorneys in the Angus filed a motion pursuant to Rule 23(g),

 6   seeking to appoint an 8-firm leadership structure. Id., ECF No. 22. On July 6, 2021, counsel in the

 7   later filed Michigan action Hawkins filed a motion seeking to consolidate Angus and Hawkins

 8   pursuant to Rule 42(a), and to appoint plaintiffs’ counsel in Hawkins, also, as interim class counsel

 9   pursuant to Rule 23(g). Id., ECF No. 27. The court granted the Rule 23(g) motion of the attorneys

10   in Angus at a July 16, 2021 status conference. Id., ECF No. 33.5

11            After this Settlement was filed, Flagstar filed a motion to stay the consolidated Angus

12   pending disposition of this Settlement. Angus, ECF No. 30. Flagstar’s motion to stay Angus was

13   granted and the Michigan proceedings were (and remain) stayed. Id., ECF No. 46. Months after the

14   Settlement was originally filed in this Court, the Angus Plaintiffs’ counsel filed a motion seeking to

15   intervene in Beyer and opposing preliminary approval. Beyer, ECF No. 62. Settling Plaintiffs and

16   Flagstar opposed that motion. Id., ECF No. 71, 72. Notably, the motion to intervene and opposition

17   to preliminary approval was filed by some of the same counsel that filed a similar motion in the

18   Kroger FTA Data Breach matter, where this Court denied the motion and granted final approval of

19   that settlement.

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24     The Angus litigation should not be confused with the separate litigation against Flagstar Bank, also
     pending in the Eastern District of Michigan, Angus v. Flagstar Bank, FSB, No. 4:22-cv-11385-SDK-
25   KGA (E.D. Mich.), which relates to a different, later data breach involving Flagstar’s network
     systems, as opposed to the third-party software breach that is at issue here. Morgan & Morgan
26   represents the same Plaintiff in both Angus actions.
     5
       Settling Plaintiffs’ counsel had filed an action in Michigan on behalf Plaintiffs Charles Tyer and
27   Christopher Hauer. Tyer, et al. v. Flagstar Bank, FSB, et al., No. 2:21-cv-11652-AJT-DRG (E.D.
     Mich.). Settling Plaintiffs’ counsel subsequently voluntarily dismissed the Tyer action pursuant to
28   Rule 41 in order to include Plaintiffs Tyer and Hauser in this Settlement.
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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 1     IV.    TERMS OF THE SETTLEMENT

 2            A.      The Class Definition

 3            The proposed Settlement Class is defined as follows:

 4            [A]ll residents of the United States who were notified by Flagstar that their PII was
              compromised as a result of the FTA Data Breach. Excluded from the Settlement
 5            Class are: (1) the Judges presiding over the Action and members of their families;
              (2) Flagstar and Accellion, their subsidiaries, parent companies, successors,
 6            predecessors, and any entity in which Flagstar or Accellion, or their parents, have
              a controlling interest, and their current or former officers and directors; (3) Persons
 7            who properly execute and submit a Request for Exclusion prior to the expiration of
              the Opt-Out Period; and (4) the successors or assigns of any such excluded Persons.
 8
 9   SA § 1.4.5. The proposed Class is the same as alleged in the SAC. Beyer, ECF No. 50, ¶ 77.

10            B.      The Release

11            In exchange for the benefits provided under the Settlement, Class Members will release

12   any claims against Flagstar and its Released Parties, only, related to or arising from the FTA Data

13   Breach. SA § 3.5.1. The claims released are coextensive with the claims in the SAC.

14            C.      The Settlement Benefits

15            The Settlement provides for a $5.9 million non-reversionary Settlement Fund (id. § 3.6.1)

16   that will be used to provide Participating Class Members with one of the following Benefits:

17                    1.     Credit Monitoring and Insurance Services (“CMIS”)

18            Each Participating Class Member who submits a valid claim may elect to receive three

19   years of CMIS. SA § 4.2.1; Wolfson Decl. ¶¶ 4, 23 and Ex. 1. If a Class Member chooses CMIS as

20   their respective Settlement Benefit and already maintains a subscription for a similar product, she

21   will have the option to postpone commencement of the CMIS by 12 months for no additional charge.

22   SA § 4.2.1. The retail value of this CMIS is $19.95 per month (total of $718.20 for the entire year

23   term) for each subscriber. Concurrently filed Declaration of Robert Siciliano ¶¶ 5-6.

24                    2.     Documented Loss Payment

25            In the alternative to the CMIS, Class Members may seek reimbursement of up to $10,000

26   for Documented Losses. To receive a Documented Loss Payment, a Class Member must submit a

27   verified Claim Form providing the loss amount and reasonable documentary proof. SA § 4.2.3.

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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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 1                    3.      Cash Fund Payments

 2            In the alternative to CMIS or a Documented Loss Payment, Class Members may submit a

 3   claim to receive a cash Settlement Payment (“Cash Payment”). The amount of the Cash Payment

 4   will be calculated in accordance with the terms of the Settlement Agreement. Id. §§ 4.2.2, 4.7; see

 5   also, infra, Sec. IV.D. In view of the heightened protections afforded to California Class Members

 6   under the California statutory claims asserted in this lawsuit (i.e., the CCPA), California Class

 7   Members who submit valid claims for Cash Fund Payments will receive Settlement Payments that

 8   are twice the amount of Settlement Payments made to non-California Class Members. SA § 4.7.2.

 9            It is difficult to estimate the amount of Cash Fund Payments as it will depend on a number

10   of factors. Assuming, however, that the claims rate here is between 1% and 3% (concurrently filed

11   Declaration of Cameron R. Azari of Epiq (“Azari Decl.”) ¶ 26; see also, Wolfson Decl. ¶ 25;

12   Appendix B, previous Data Breach Settlement claims chart), Class Counsel estimate that California

13   Claimants will receive approximately $632 at 1%, $307 at 2%, and $199 at 3%, and non-California

14   Claimants will receive approximately $316 at 1%, $153 at 2%, and $99 at 3%. Wolfson Decl. ¶ 26.

15                    4.      Prospective Relief and Changes in Business Practices
                              Attributable to the Settlement
16

17            As a result of this litigation, the Settlement also provides significant remedial measures

18   (SA §§ 4.1.1-4.1.4) regarding Flagstar’s data security practices that will be implemented for a period

19   of five years. If implemented, these measures will benefit all Class Members regardless of whether

20   a claim is filed. In addition, for five years after final approval of the Settlement, Flagstar will

21   continue to monitor the dark web for indications of fraudulent activity with respect to data of Flagstar

22   customers and current and former employees in connection with the FTA Data Breach. Id. § 4.1.5.

23   Flagstar will also certify its compliance with these measures. Id. § 4.1.6.

24                    5.      The Settlement’s Value to Settlement Class Members

25            The Settlement’s value is significant. The cash fund value of the Settlement is $5,900,000.

26   SA § 3.6. This does not include the value of the prospective relief or the retail value of the CMIS.

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 1            D.     Plan of Distribution

 2            Subject to the Court’s approval, the Settlement Administrator (“Administrator”) will apply

 3   the Net Settlement Fund to make all distributions necessary for an election of CMIS, Documented

 4   Loss Payments, and Cash Payments. The Administrator will first apply the Net Settlement Fund to

 5   pay for claimed CMIS and then to pay for valid claims for Documented Loss. SA § 4.7.1.

 6            The amount of the Settlement Fund remaining after all payments for CMIS and

 7   Documented Loss Payments are applied (the “Post DC Net Settlement Fund”), will be used to pay

 8   valid claims for Cash Payments. Id. § 4.7.2. The amount of each Cash Payment shall be calculated

 9   by dividing the Post DC Net Settlement Fund by double the number of valid claims submitted by

10   California residents added to the number of valid claims submitted by non-California residents to

11   determine a “Initial Cash Amount.” Id. The Cash Fund Payment amount to non-California residents

12   with Approved Claims will be equal to the Initial Cash Amount, and the Cash Fund Payment to

13   California residents with Approved Claims will equal twice the Initial Cash Amount. Id.

14            Class Members will have the option to receive any money available to them via digital

15   payment. Id. § 4.3; Azari Decl. ¶ 22. In the event Class Members do not exercise an electronic

16   payment option, they will receive payment via a physical check. SA §§ 4.3, 4.8.

17            E.     Residual

18            The Settlement Fund is non-reversionary. To the extent any monies remain in the Net

19   Settlement Fund more than 150 days after the distribution of Settlement Payments, a subsequent

20   Settlement Payment will be evenly made to all Approved Claim Claimants who cashed or deposited

21   the initial payment they received, assuming such payment is over $3.00. SA § 4.9. In the event such

22   a payment is less than $3.00 for each Approved Claim for cash, the remaining funds will be used to

23   extend the three-year term of the CMIS for as long as possible for all Claimants who selected CMIS.

24   Id. Any amount remaining thereafter will be paid to the proposed 26 U.S.C. 501(c)(3) recipient: the

25   Electronic Frontier Foundation. Id. §§ 1.26, 4.9, 4.11; Wolfson Decl. ¶ 27.

26            F.     Notice to Class

27            Pursuant to Rule 23(e), the Administrator will provide Class Members with the Summary

28   Notice via email for any Class Member for whom an email address is available, and via U.S. mail
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 1   in postcard form for all others for whom a physical mailing address is available. SA §§ 6.3.1-6.3.2;

 2   Azari Decl. ¶¶ 13-14. Undeliverable email notices will result in supplemental email attempts and

 3   then a postcard Summary Notice if email is not successful. SA § 6.3.3; Azari Decl. ¶¶ 14-15. For

 4   undeliverable mailed Summary Notices, the Administrator will re-mail to any forwarding address

 5   identified. SA § 6.3.4; Azari Decl. ¶¶ 14-15. Prior to the Claims Deadline, reminder emails will be

 6   sent to Class Members who have not submitted a claim. SA § 6.6; Azari Decl. ¶ 16.

 7            The Administrator also will (i) design and conduct an internet digital advertising

 8   publication program, which will continue through the Claims Deadline (SA § 6.4; Azari Decl. ¶ 17),

 9   and (ii) create and maintain a Settlement Website that contains all relevant information and

10   documents regarding the Settlement through which Class Members can submit electronic Claims

11   Forms and Requests for Exclusion. SA § 6.7; Azari Decl. ¶ 18. The Settlement Website will also

12   contain a toll-free telephone number and mailing address for the Administrator. SA § 6.7; Azari

13   Decl. ¶ 19. The language of all Notice Forms is easily understandable and takes into account the

14   education level or language needs of the proposed Class Members. Azari Decl. ¶¶ 20-21.

15            G.      Proposed Class Representative Service Payments

16            Each Plaintiff has been a dedicated and active participant on behalf of the proposed Class,

17   and the recovery would not have been possible without their efforts. Wolfson Decl. ¶¶ 34-35. In

18   view of these efforts, on behalf of Plaintiffs, counsel will separately petition the Court for approval

19   of Service Payments in the amount of $1,500 for each of the four Plaintiffs. SA § 10.1. The

20   Settlement is not conditioned upon the Court’s award of Service Payments.

21            H.      Attorneys’ Fees and Expenses

22            As part of the Settlement, Plaintiffs’ counsel will separately file a motion for an award of

23   reasonable attorneys’ fees and reimbursement of litigation costs and expenses. Id. §§ 11.1-11.3.

24   There is no “clear sailing” clause in the Settlement (id.), and any amount sought for payment of

25   attorneys’ fees will be reasonable, and consistent with the Ninth Circuit’s 25% “benchmark”

26   percentage for such awards. See, e.g., Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048-50 (9th Cir.

27   2002). As of the time period of the initial Motion for Preliminary Approval, Proposed Class Counsel

28   expended approximately $341,650 in lodestar and incurred $29,749.96 in expenses. Wolfson Decl.
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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 1   ¶ 37. In no event will proposed Class Counsel seek more than 25% of the Settlement Fund in

 2   attorneys’ fees. Class Counsel will also seek reimbursement of all expenses and costs. Any approved

 3   Fee Award and Costs will be paid out of the Settlement Fund. SA § 11.1. The Settlement is not

 4   conditioned upon an award of any attorneys’ fees, costs, or expenses. Id. § 11.3.

 5            I.      The Settlement Administrator

 6            The Parties propose that Epiq serve as Administrator to provide notice; administer and

 7   make determinations regarding claim forms; process settlement payments; make distributions; and

 8   provide other services necessary to implement the Settlement. SA § 1.43; see generally Azari Decl.

 9   The costs of the Administrator will be paid out of the Settlement Fund. SA § 3.8. Epiq was selected

10   following a competitive bidding process to identify the most efficient Settlement administration

11   option. Wolfson Decl. ¶ 22. Proposed Class Counsel has previously worked with Epiq on different

12   matters. Id. ¶¶ 22, 24-25. Proposed Class Counsel believe the estimated $442,000 to $475,000 cost

13   for settlement administration is reasonable. Id.

14      V.    PRELIMINARY APPROVAL IS APPROPRIATE

15            A.      The Rule 23 Requirements for Class Certification are Met

16            At the preliminary approval stage, “if a class has not [yet] been certified, the parties must

17   ensure that the court has a basis for concluding that it likely will be able, after the final hearing, to

18   certify the class.” Fed. R. Civ. P. 23, Adv. Comm. Notes to 2018 Amendment. All the requirements

19   of Rule 23(a) must be met, and “at least one of the three requirements listed in Rule 23(b).” Wal-

20   Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345 (2011).

21                    1.      Rule 23(a) Is Satisfied

22                             i.     The Class Is Sufficiently Numerous

23            There are approximately 1,477,411 Class Members. Wolfson Decl. ¶ 28(g). The Rule

24   23(a)(1) numerosity requirement is satisfied.

25                            ii.     There Are Common Questions of Law and Fact

26            The commonality requirement is satisfied if “there are questions of law or fact common to

27   the class.” Fed. R. Civ. P. 23(a)(2). Here, numerous common issues of law and fact affect the Class

28   uniformly, including: the nature of Flagstar’s data security practices, whether Flagstar knew or
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 1   should have known that Accellion’s FTA was unsecure, whether Flagstar owed duties of care to

 2   Class Members to safeguard their PII, and whether Flagstar breached those duties. These inquiries

 3   will turn on common evidence. Commonality is satisfied.

 4                           iii.     The Class Representatives’ Claims Are Typical

 5            Rule 23(a)(3) requires that the Class Representatives’ claims be typical of those of the

 6   Class. “The test of typicality is whether other members have the same or similar injury, whether the

 7   action is based on conduct which is not unique to the named plaintiffs, and whether other Class

 8   Members have been injured by the same course of conduct.” Ellis v. Costco Wholesale Corp., 657

 9   F.3d 970, 984 (9th Cir. 2011) (internal quotation marks and citation omitted). Here, the claims of

10   the named Plaintiffs are typical of the claims of the Settlement Class. Class Members, like Plaintiffs,

11   are individuals who were notified by Flagstar that their PII was impacted as a result of the breach.

12   Plaintiffs’ and Class Members’ claims arise from the same nucleus of facts relating to the FTA Data

13   Breach, pertain to common defendant Flagstar, and are based on the same legal theories. Plaintiffs

14   thus satisfy the Rule 23(a)(3) typicality requirement.

15
                             iv.      Class Representatives and Proposed Class Counsel
16                                    Adequately Represent Class Members

17            Rule 23(a)(4) permits certification of a class action only if “the representative parties will
18   fairly and adequately protect the interests of the class,” which requires that the named plaintiffs
19   (1) not have conflicts of interest with the proposed Class; and (2) be represented by qualified and
20   competent counsel. In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prod. Liab. Litig.,
21   895 F.3d 597, 607 (9th Cir. 2018). Plaintiffs and proposed Class Counsel are adequate. First, the
22   proposed Class Representatives have demonstrated that they are well-suited to represent the
23   Settlement Class, have actively participated in the litigation, and will continue to do so. Wolfson
24   Decl. ¶¶ 34-35. They do not have any conflicts of interest with the absent Class Members, as their
25   claims are coextensive with those of the Class Members. Id.
26            Second, proposed Class Counsel are highly qualified and experienced in class action and
27   complex litigation, with expertise and extensive experience in data breach and data privacy class
28   actions. Wolfson Decl. ¶¶ 38-52 and Ex. 2. Proposed Class Counsel have been dedicated to the
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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 1   prosecution of this action and will remain so through final approval. Id. ¶¶ 12-15, 17-21. The

 2   adequacy requirement is satisfied.

 3                    2.          Rule 23(b)(3) is Satisfied

 4            Rule 23(b)(3) requires that (1) “questions of law or fact common to the members of the

 5   class predominate over any questions affecting only individual members of the class,” and (2) “that

 6   a class action is superior to other available methods for the fair and efficient adjudication of the

 7   controversy.” Fed. R. Civ. P. 23(b)(3). Both of these requirements are satisfied.

 8                           i.          Common Issues of Law and Fact Predominate Over Any
                                         Potential Individual Questions
 9
10            The Rule 23(b)(3) predominance element requires that “questions of law or fact common
11   to class members predominate over any questions affecting only individual members.” Fed. R. Civ.
12   P. 23(b)(3). Here, Plaintiffs’ claims depend on whether Flagstar had reasonable data security
13   measures in place to protect Plaintiffs’ and Class Members’ PII, and whether Flagstar could have
14   prevented unauthorized exposure of Plaintiffs’ PII or mitigated its effects with more adequate third-
15   party risk management practices. These questions can be resolved using the same evidence for all
16   Class Members, including Flagstar’s internal documents, testimony of its employees, and expert
17   analysis. Abante Rooter & Plumbing, Inc. v. Pivotal Payments Inc., No. 3:16-CV-05486, 2018 WL
18   8949777, at *5 (N.D. Cal. Oct. 15, 2018) (“Predominance is satisfied because the overarching
19   common question . . . can be resolved using the same evidence for all class members and is exactly
20   the kind of predominant common issue that makes certification appropriate.”).
21            Indeed, Plaintiffs allege that the FTA Data Breach affected all Class Members in a uniform
22   fashion, compromising the similar types of PII for Plaintiffs and the Class Members. In re Anthem,
23   Inc. Data Breach Litig., 327 F.R.D. 299, 312 (N.D. Cal. 2018) (“Plaintiffs’ case for liability depends,
24   first and foremost, on whether Anthem used reasonable data security to protect Plaintiffs’ personal
25   information. . . . That question can be resolved using the same evidence for all Class Members
26   because their personal information was all stored on the same Anthem data warehouse that was the
27   subject of the breach.”).
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1            The issues presented are susceptible to common proof because they focus on Flagstar’s

 2   class-wide data security policies and practices, and thus are the type of predominant questions that

 3   make a class-wide adjudication worthwhile. Id.; see also Tyson Foods, Inc. v. Bouaphakeo, 136 S.

 4   Ct. 1036, 1045 (2016) (“When ‘one or more of the central issues in the action are common to the

 5   class and can be said to predominate, the action may be considered proper under Rule 23(b)(3) . . . .’”

 6   (citation omitted)). Predominance is satisfied.

 7                            ii.     A Class Action is the Superior Method to Fairly and
                                      Efficiently Adjudicate the Matter
 8
              Rule 23(b)(3) requires a class action to be “superior to other available methods for the fair
 9
     and efficient adjudication of the controversy,” and sets forth the following factors:
10
              The matters pertinent to the findings include: (A) the class members’ interest in
11            individually controlling the prosecution or defense of separate actions; (B) the
              extent and nature of any litigation concerning the controversy already begun by or
12            against class members; (C) the desirability or undesirability of concentrating the
              litigation of the claims in the particular forum; and (D) the likely difficulties in
13            managing a class action.
14   Fed. R. Civ. P. 23(b)(3).
15            Where, as here, a court is deciding the certification question in the proposed class action
16   settlement context, it need not consider manageability issues because “the proposal is that there be
17   no trial,” and hence manageability considerations are no hurdle to certification for purposes of
18   settlement. Amchem, 521 U.S. at 620. A class action is the only reasonable method to fairly and
19   efficiently adjudicate Class Members’ claims against Flagstar. See, e.g., Phillips Co. v. Shutts, 472
20   U.S. 797, 809 (1985) (“Class actions . . . permit the plaintiffs to pool claims which would be
21   uneconomical to litigate individually . . . [In such a case,] most of the plaintiffs would have no
22   realistic day in court if a class action were not available.”). Resolution of the predominant issues of
23   fact and law through individual actions is impracticable: the amount in dispute for individual class
24   members is too small, the technical issues involved are too complex, and the required expert work
25   would be very costly. Just Film, Inc. v. Buono, 847 F.3d 1108, 1123 (9th Cir. 2017).
26            The class device is the superior method of adjudicating claims against Flagstar because it
27   promotes greater efficiency, and no realistic alternative exists. Courts routinely recognize this in
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                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1   other data breach cases where class-wide settlements have been approved. See, e.g., In re Experian

 2   Data Breach Litigation, No. 8:15-cv-01592-AG-DFM (N.D. Cal. May 10, 2019).

 3
               B.      The Proposed Settlement Is Eminently Fair, an Excellent Result for
 4                     the Class Members, and Should be Preliminarily Approved

 5             The 2018 revisions to Rule 23 confirm the need for detailed analysis regarding the fairness

 6   of a class settlement. “The claims, issues, or defenses of a certified class—or a class proposed to be

 7   certified for purposes of settlement—may be settled . . . only with the court’s approval.” Fed. R. Civ.

 8   P. 23(e). Accordingly, a district court may approve a settlement agreement “after a hearing and only

 9   on finding that it is fair, reasonable, and adequate . . . .” Fed. R. Civ. P. 23(e)(2).

10             In making this decision, Rule 23(e)(2) clarifies that district courts must consider whether:

11             (A)     the class representatives and class counsel have adequately represented the
                       class;
12             (B)     the proposal was negotiated at arm’s length;
13             (C)     the relief provided for the class is adequate, taking into account:
                       (i)     the costs, risks, and delay of trial and appeal;
14                     (ii)    the effectiveness of any proposed method of distributing relief to the
                               class, including the method of processing class-member claims;
15                     (iii)   the terms of any proposed award of attorney’s fees, including timing
                               of payment; and
16                     (iv)    any agreement required to be identified under Rule 23(e)(3); and
17             (D)     the proposal treats class members equitably relative to each other.

18   Fed. R. Civ. P. 23(e)(2). Thus, Rule 23(e) now reflects the factors that courts in this Circuit already
19   considered for approval: “(1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity,
20   and likely duration of further litigation; (3) the risk of maintaining class action status throughout the
21   trial; (4) the amount offered in settlement; (5) the extent of discovery completed and the stage of the
22   proceedings; (6) the experience and views of counsel; (7) the presence of a governmental participant;
23   and (8) the reaction of the Class Members to the proposed settlement.” Anthem, 327 F.R.D. at 317
24   (quoting In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011)).
25             “Prior to formal class certification, there is an even greater potential for a breach of
26   fiduciary duty owed the class during settlement. Accordingly, such agreements must withstand an
27   even higher level of scrutiny for evidence of collusion or other conflicts of interest than is ordinarily
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              MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                   BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                         No. 5:21-cv-01155-EJD
 1   required under Rule 23(e) before securing the court’s approval as fair. In re Bluetooth Headset

 2   Prods. Liab. Litig., 654 F.3d at 946.

 3              At the preliminary approval stage, the court “evaluate[s] the terms of the settlement to

 4   determine whether they are within a range of possible judicial approval.” Wright v. Linkus Enters.,

 5   Inc., 259 F.R.D. 468, 472 (E.D. Cal. 2009). Ultimately, “[s]trong judicial policy favors settlements.”

 6   Churchill Village, L.L.C. v. General Electric, 361 F.3d 566, 576 (9th Cir. 2003) (ellipses and

 7   quotation marks omitted) (quoting Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir.

 8   1992)).

 9                     1.      The Strength of Plaintiffs’ Case and Possible Monetary Remedies

10              Plaintiffs believe they have a strong case for liability based upon alleged shortcomings in

11   Flagstar’s data security measures. Beyer, ECF No. 50, ¶¶ 27, 30-33, 66-72. Plaintiffs also believe

12   that they would be able to recover damages on behalf of the Class.

13              The range of potential outcomes is large, however. The scope of damages depends in large

14   part on the scope of class certification, whether various theories of damages would be accepted by

15   the Court (i.e., benefit of the bargain, and loss of value of PII), and which causes of action survive.

16   Nonetheless, if applied across all potential class members equally, Plaintiffs’ most conservative

17   measure (based on black-market rates of at least $5 per individual for Social Security numbers6)

18   would yield a figure of approximately $7,350,000, while more expansive measure (based on at least

19   $19.95 of monthly credit monitoring costs) would yield $29,474,349.40 (1,477,411 x $19.95).

20   Assuming the statutory damages available to the 257,660 California Class Members under the CCPA

21   ($100 minimum, $750 maximum per violation), nominal damages to those individuals alone would

22   range from $25,766,000 to $193,245,000.

23              These amounts are not certain, however, and the case is subject to numerous risks (see,

24   infra, Sec. V.B.2). Plaintiffs believe that the legal theories behind such larger damage figures are

25   meritorious, but also recognize that they are untested. As a practical matter, Plaintiffs’ counsel

26   recognize that taking such large numbers to a jury presents substantial strategic risks. Even a number

27   in the mid-hundreds of millions potentially risks offending a jury and leading to a nominal award—

28   6
         See Premera, supra, ECF No. 156, p. 20 of 24, Motion for Class Certification.
                                                    - 18 -
               MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                    BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1   or no monetary award at all. See, e.g., Corcoran et al. v. CVS Health Corporation, No. 4:15-CV-

 2   03504, ECF No. 611 (N.D. Cal. June 24, 2021) (unanimous defense verdict where Plaintiffs’ counsel

 3   urged jury to award 6.3 million CVS Pharmacy customers $121 million in generic drug price

 4   overcharge suit).

 5                       2.    The Risk, Expense, Complexity, and Potential Class Recovery

 6             This factor overwhelmingly weighs in favor of preliminary approval. As stated above,

 7   while Plaintiffs believe their case is a strong one, there is substantial risk. Data breach cases are, by

 8   nature, especially risky and expensive. Such cases also are innately complex, and this case is no

 9   exception.

10             There are numerous substantial hurdles that Plaintiffs would have to overcome before the

11   Court might find a trial appropriate. First, given the early stage of the litigation, the legal sufficiency

12   of Plaintiffs’ claims has not been tested by a motion to dismiss, including Article III standing.

13   Establishing a cognizable injury tied to Flagstar’s conduct (as opposed to, for instance, another data

14   breach or some other cause) can present challenges.

15             Data breach cases, particularly, face substantial hurdles in surviving even past the pleading

16   stage and are among the most risky and uncertain of all class action litigation. See, e.g., Hammond

17   v. The Bank of N.Y. Mellon Corp., No. 08 Civ. 6060, 2010 WL 2643307, at *1 (S.D.N.Y. June 25,

18   2010) (collecting cases). Flagstar likely would argue that it is not liable because it retained Accellion

19   in the first place (a purportedly secure third-party data transferor with a file transfer service), was

20   never informed by Accellion that the FTA product was not secure. See Sec. III.C., supra. Flagstar

21   likely would argue that Accellion is solely at fault for the FTA Data Breach.

22             Were litigation to proceed, there would be numerous expert reports and costly depositions,

23   which would present significant expenses. As in any data breach class action, establishing causation

24   and damages on a class-wide basis is largely unchartered territory and full of uncertainty.

25             Plaintiffs’ California CCPA claim also faces significant risk of dismissal on the pleadings

26   or an unfavorable disposition at summary judgment. The CCPA is relatively new (effective only on

27   January 1, 2020) and remains largely untested. Were this litigation to continue, Flagstar could attack

28   Article III standing as well as the merits of this claim.
                                                        - 19 -
              MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                   BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1             Plainly, the Settlement avoids the risk of non-recovery and is a prudent course in view of

 2   these high risks. Given that all Class Members will be eligible to elect CMIS or cash payments, the

 3   Settlement provides benefits that address all potential harms of a data breach without the substantial

 4   risk of continued litigation, which includes the risk of dismissal or judgment against Plaintiffs.

 5                     3.      The Risk of Maintaining Class Status Through Trial

 6           This case is still in the pleadings stage and the Parties have not briefed class certification.

 7   Prior to class certification proceedings, there is risk of dismissal. Class certification, if and when it

 8   arrives, will present substantial risk, particularly given that different types of information were

 9   affected for different Class Members, and in light of the fact that class wide damage models remain

10   largely untested at litigation. If Plaintiffs obtained class certification, there is no guarantee that the

11   class action status would be maintained. Flagstar would likely seek a Rule 23(f) appeal of any

12   decision by the Court granting class certification, resulting in additional delay. The significant risk

13   of obtaining and maintaining class certification in this case supports preliminary approval.

14                     4.      The Amount Offered in Settlement Is Fair

15             The $5.9 million non-reversionary Settlement Fund is an excellent result for the Class.

16   With this fund, all Class Members will be eligible for a Settlement Payment in the form of

17   distribution for the CMIS, Documented Loss Payment, or a Cash Fund Payment. SA §§ 4.2.1-4.2.3.

18   The Settlement Fund will be applied to pay all Administrative Expenses, Notice Expenses, the taxes

19   to the Settlement Fund, any Service Payments, and any payment of a Fee Award and Costs. Id. § 3.8.

20   Any funds remaining in the Net Settlement Fund after distribution(s) to Class Members will be

21   distributed in a subsequent Settlement Payment to Class Members. Id. § 4.9.

22             The Settlement presents a robust relief package and valuable outcome for the Class

23   compared to other recent data breach class action settlements on a per-capita basis. See Appendix

24   A attached hereto, Data Breach Settlement Comparison Chart; Wolfson Decl. ¶ 30. The Settlement

25   is in the upper range of similar settlements on a per capita basis, and is even stronger in light of the

26   fact that the Settlement does not release claims against Accellion, another potential source of

27   recovery, as well as the additional risks of litigation based on the unique circumstances of this Data

28   Breach, as discussed in Sec. V.B.2, supra.
                                                       - 20 -
             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1                    5.      The Proposed Method of Distribution Is Effective

 2            Rule 23(e)(2)(C)(ii) requires consideration of “the effectiveness of any proposed method

 3   of distributing relief to the class, including the method of processing class-member claims.” Fed. R.

 4   Civ. P. 23(e). “Often it will be important for the court to scrutinize the method of claims processing

 5   to ensure that it facilitates filing legitimate claims. A claims processing method should deter or defeat

 6   unjustified claims, but the court should be alert to whether the claims process is unduly demanding.”

 7   Id., Advisory Comm. Note to 2018 amendment.

 8            To file a claim, Class Members need only complete a straightforward Claim Form and, if

 9   necessary, submit it along with documents supporting their claimed losses either through the

10   Settlement Website or by mail. SA §§ 4.2.1-4.2.3, 5.1.1, and Ex. A; Azari Decl. ¶ 20. All claims will

11   be processed by Epiq. Id. §§ 1.43, 5.1; Azari Decl. ¶¶ 1, 10. The methods of distributing relief to

12   Class Members include both digital and physical check avenues. SA § 4.3; Azari Decl. ¶ 22. Based

13   upon Class Counsel’s previous experience and knowledge, Class Counsel expect the claims rate in

14   this Settlement to be between 1-3%. Wolfson Decl. ¶ 25; Azari Decl. ¶ 26; see Appendix B attached

15   hereto, Data Breach Settlement Claims Rate Comparison Chart.

16                    6.      The Extent of Discovery Completed and the Stage of the Proceedings

17            Plaintiffs have diligently developed the facts and claims in this case. Plaintiffs conducted

18   significant confirmatory discovery to establish, inter alia, facts relevant to the breach and Flagstar’s

19   liability, Flagstar’s reaction to the breach, and class size. Wolfson Decl. ¶¶ 12-15, 17-21, 28; see

20   Sec. III.C, supra. Plaintiffs and their counsel have stayed abreast of all material developments

21   involving the FTA Data Breach, including those impacting Flagstar. Wolfson Decl. ¶ 12.

22            The Parties engaged in discovery to confirm the Settlement as fair, reasonable, and

23   adequate. During settlement negotiations, the Parties engaged in confirmatory discovery to verify

24   the relevant facts and the fairness of the Settlement. Id. ¶¶ 18, 28. Counsel’s knowledge of facts of

25   this case and of the practice area more broadly informed Plaintiffs’ clear view of the strengths and

26   weaknesses of the case, the decision to twice go to mediation with Flagstar, and the decision to

27   recommend that the Court grant preliminary approval to the Settlement. Id. ¶¶ 31-33, 53.

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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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                                                                        No. 5:21-cv-01155-EJD
 1                    7.      The Experience and Views of Counsel

 2            Proposed Class Counsel include attorneys who have substantial experience in complex

 3   class action litigation, including in data breach and data privacy cases. Id. ¶¶ 38-52 and Ex. 2.

 4   Proposed Class Counsel fully endorse the Settlement as fair, reasonable, and adequate to the Class,

 5   and do so without reservation. Id. ¶¶ 6, 29, 53.

 6                    8.      The Presence of a Governmental Participant

 7            No governmental agency is involved in this litigation. The Attorney General of the United

 8   States and Attorneys General of each State will be notified of the proposed Settlement pursuant to

 9   the Class Action Fairness Act, 28 U.S.C. § 1715, and will have an opportunity to raise any concerns

10   or objections. Azari Decl. ¶¶ 21, 27.

11                    9.      The Reaction of Class Members to the Proposed Settlement

12            The Class has not yet been notified of the Settlement or had an opportunity to object. It is

13   premature to assess this factor. Prior to final approval, the Court will be able to review all objections

14   or comments received from Class Members, along with a full accounting of all opt-out requests.

15
                      10.     The Settlement Is the Product of Arm’s-Length Negotiations
16                            that Were Free of Collusion

17            The Court must be satisfied that “the settlement is not the product of collusion among the
18   negotiating parties.” In re Bluetooth Headset, 654 F.3d at 946-47 (internal quotation marks, ellipses
19   and citation omitted). Plaintiffs achieved the Settlement in contested litigation and through arm’s-
20   length negotiations that involved two mediation sessions before a highly respected mediator.
21   Plaintiffs undertook substantial investigation of the underlying facts, causes of action, and potential
22   defenses to those claims. Wolfson Decl. ¶¶ 12, 18, 28. The Parties engaged in extensive arm’s-length
23   negotiations, including two mediation sessions before a mutually agreed upon mediator, the Hon.
24   Jay C. Gandhi (Ret.) on July 13 and July 26, 2021. Id. ¶¶ 31-33.
25            Judge Gandhi, a highly respected and experienced mediator, has extensive experience in
26   class action litigation, both from his time as a magistrate judge in the Central District of California
27   and as a result of mediating many class actions, including multiple data breach cases where a
28
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                        No. 5:21-cv-01155-EJD
 1   settlement was reached and subsequently approved.7 His involvement here further confirms the

 2   absence of collusion. G. F. v. Contra Costa Cnty., No. 13-cv-03667, 2015 WL 4606078, at *13

 3   (N.D. Cal. July 30, 2015) (“[T]he assistance of an experienced mediator in the settlement process

 4   confirms that the settlement is non-collusive.”) (internal quotation marks and citation omitted).

 5            Bluetooth identified three “signs” of possible collusion: (1) “when counsel receive[s] a

 6   disproportionate distribution of the settlement”; (2) “when the parties negotiate a ‘clear sailing

 7   arrangement,’” under which the defendant agrees not to challenge a request for an agreed-upon

 8   attorney’s fee; and (3) when the agreement contains a “kicker” or “reverter” clause that returns

 9   unawarded fees to the defendant, rather than the class. 654 F.3d at 947 (internal citations omitted).

10            None of the Bluetooth concerns are present here. There is no “clear sailing provision” and

11   Class Counsel will not seek fees that exceed the 25% of the Fund benchmark set by Bluetooth. Id.

12   at 942; SA § 11.3; see Sec. IV.H, supra. There is no reversion of the Settlement Fund (SA § 4.11),

13   but rather the Settlement makes every effort to distribute any Residual to the Class (see id. §§ 4.9,

14   4.11). Proposed Class Counsel will apply for fees from this non-reversionary Settlement Fund, so

15   that there was every incentive to secure the largest fund possible. There is no indication or existence

16   of collusion or fraud in the negotiations and the Settlement that is being presented to the Court.

17                    11.     The Proposed Notice Plan is Appropriate

18            For classes certified under Rule 23(b)(3), “the court must direct to class members the best

19   notice that is practicable under the circumstances, including individual notice to all members who

20   can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). “The standard for the

21   adequacy of a settlement notice in a class action under either the Due Process Clause or the Federal

22   Rules is measured by reasonableness.” Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 113

23   (2d Cir. 2005). The best notice is that which is “reasonably calculated, under all the circumstances,

24   to apprise interested parties of the pendency of the action and afford them an opportunity to present

25   their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).

26
     7
       See, e.g., In re Premera Blue Cross Customer Data Sec. Breach Litig., No. 3:15-MD-2633, 2019
27   WL 3410382, at *1 (D. Or. July 29, 2019); In re Banner Health Data Breach Litigation, No. 2:16-
     cv-02696-PHX-SRB (D. Ariz. Dec. 5, 2019), ECF No. 170, at 6 (parties engaged in private mediation
28   with Judge Gandhi).
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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                                                                        No. 5:21-cv-01155-EJD
 1            Notice should provide sufficient information to allow Class Members to decide whether

 2   they should accept the benefits of the settlement, opt out and pursue their own remedies, or object

 3   to its terms. Wershba v. Apple Computer, Inc., 91 Cal. App. 4th 224, 251-52. “[N]otice is adequate

 4   if it may be understood by the average class member.” Warner v. Toyota Motor Sales, U.S.A., Inc.,

 5   No. CV 15-2171, 2016 WL 8578913, at *14 (C.D. Cal. Dec. 2, 2016) (quoting 4 NEWBERG ON CLASS

 6   ACTIONS § 11:53, at p. 167 (4th ed. 2013)). The Long Form Notice (SA, Ex. D) here is clear, precise,

 7   informative, and meets all the necessary standards, allowing Class Members to make informed

 8   decisions with respect to whether they remain in or opt out of, or object to, the Settlement.

 9            The Notice Plan includes direct notice by emailing or mailing the Summary Notices (SA,

10   Ex. F) to all Class Members, and reminder emails to those for whom email addresses are available.

11   SA §§ 6.3-6.8; Azari Decl. ¶¶ 13-16. The Administrator will design and conduct an internet digital

12   advertising publication notice program and Settlement Website, which will continue through the

13   Claims Deadline. SA §§ 6.4, 6.7; Azari Decl. ¶¶ 17-18. Copies of all the notice documents are

14   attached as exhibits to the Settlement Agreement; they are clear and concise, and directly apprise

15   Class Members of all the information they need to know to make a claim, opt out, or object. Fed. R.

16   Civ. P. 23(c)(2)(B); see also Azari Decl. ¶¶ 21, 23. The Notice Plan is consistent with, and exceeds,

17   other similar court-approved notice plans, the requirements of Fed. Civ. P. 23(c)(2)(B), the Northern

18   District of California Procedural Guidance for Class Action Settlements (Guidance # 3), and the

19   Federal Judicial Center (“FJC”) guidelines for adequate notice.

20            As there is no alternative method of notice that would be practicable here or more likely to

21   notify Class Members, the proposed Notice plan constitutes the best practicable notice to Class

22   Members and complies with the requirements of Due Process.

23                    12.     Appointment of Settlement Class Counsel

24            Under Rule 23, “a court that certifies a class must appoint class counsel [who must] fairly

25   and adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B). In making this

26   determination, courts consider the following attributes: the proposed class counsel’s (1) work in

27   identifying or investigating potential claims, (2) experience in handling class actions or other

28   complex litigation, and the types of claims asserted in the case, (3) knowledge of the applicable law,
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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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 1   and (4) resources committed to representing the class. Fed. R. Civ. P. 23(g)(1)(A)(i-iv). Here,

 2   proposed Settlement Class Counsel have extensive experience prosecuting complex consumer class

 3   action cases, and specifically data breach and data privacy cases. Wolfson Decl. ¶¶ 38-52 and Ex. 2.

 4   As described above and in Ms. Wolfson’s supporting declaration and AW’s firm resume, Proposed

 5   Class Counsel meet all Rule 23(g)(1)(A) factors. Accordingly, the Court should appoint Tina

 6   Wolfson, Robert Ahdoot, and Andrew W. Ferich of Ahdoot & Wolfson, PC as Class Counsel.

 7                    13.     Settlement Deadlines and Schedule for Final Approval

 8            In connection with preliminary approval, the Court must set a final approval hearing date,

 9   dates for mailing the Notices, and deadlines for objecting to and filing papers in support of the

10   Settlement. Plaintiffs propose the following schedule, which the parties believe will provide ample

11   opportunity for Class Members to decide whether to request exclusion or object:

12                            EVENT                                            DATE
                 Notice Date (U.S. Mail and email)                Within 30 Days from the Preliminary
13                                                                          Approval Order
14                Deadline to Submit Claim Forms                      90 Days from the Notice Date
15        Deadline to Submit Motion for Attorneys’ Fees,         At Least 35 Days Before the Objection
                   Costs and Service Payments                                  Deadline
16
        Deadline to Object and Comment to the Settlement              75 Days from the Notice Date
17
             Deadline to Submit Request for Exclusion                 75 Days from the Notice Date
18
                       Final Fairness Hearing                               To be Determined
19
20     VI.    CONCLUSION

21            Plaintiffs Grace Beyer, Christopher Hauser, Charles Tyer, and Stefanie Burton

22   respectfully request that this motion be granted and that the Court enter an order: (1) certifying the

23   proposed class for settlement; (2) preliminarily approving the proposed class action Settlement;

24   (3) appointing Plaintiffs as Class Representatives and Ahdoot & Wolfson, PC as Class Counsel;

25   (4) appointing Epiq as the Settlement Administrator; (5) approving the proposed Class Notice Plan

26   and related Settlement administration documents; and (6) approving the proposed class settlement

27   administrative deadlines and procedures, including setting a Final Approval Hearing date.

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             MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
                  BURTON’S MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                                                                        No. 5:21-cv-01155-EJD
 1   Dated: September 6, 2021              Respectfully submitted,

 2                                         /s/ Tina Wolfson
                                           TINA WOLFSON (SBN 174806)
 3                                         twolfson@ahdootwolfson.com
                                           ROBERT AHDOOT (SBN 172098)
 4                                         rahdoot@ahdootwolfson.com
                                           AHDOOT & WOLFSON, PC
 5                                         2600 W. Olive Avenue, Suite 500
                                           Burbank, CA 91505-4521
 6                                         Tel: 310.474.9111; Fax: 310.474.8585
 7
                                           ANDREW W. FERICH (pro hac vice)
 8                                         aferich@ahdootwolfson.com
                                           AHDOOT & WOLFSON, PC
 9                                         201 King of Prussia Road, Suite 650
                                           Radnor, PA 19087
10                                         Tel: 310.474.9111;Fax: 310.474.8585

11                                         Attorneys for Plaintiffs and the Proposed Class

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          MEMORANDUM OF POINTS AND AUTHORITIES ISO PLAINTIFFS BEYER, HAUSER, TYER, AND
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                                                                     No. 5:21-cv-01155-EJD
       APPENDIX A: DATA BREACH SETTLEMENT COMPARISON CHART


       Case Title             No. of Class   Settlement   Amount      Credit Monitoring
                               Members         Fund       Per Class
                                                          Member
Beyer, et al. v. Flagstar       1.48M          $5.9M        $3.99          3 years
Bank
In re Target Corp.              97.5M          $10M        $0.10      Documented Cost
Customer Data Breach                                                   Reimbursement
Security Litigation
In re LinkedIn User              6.4M         $1.25M       $0.20            N/A
Privacy Litig.
In re The Home Depot             40M           $13M        $0.33         18 Months
Inc. Customer Data
Security Breach Litig.
In re Yahoo! Inc.                194M         $117.5M      $0.61           2 years
Customer Data Breach
Litigation
Adlouni v. UCLA Health           4.5M          $2M         $0.44           2 years
Systems Auxiliary, et al.
Atkinson, et al. v. Minted,      4.1M          $5M         $1.22           2 years
Inc.
In re Experian Data              16M           $22M        $1.37           2 years
Breach Litigation
In re Anthem, Inc. Data         79.2M         $115M        $1.45           2 years
Breach Litigation
In re Equifax Inc. Data         > 147M        $380.5M      $2.59           4 years
Security Breach
Litigation
In re Premera Blue              8.86M          $32M        $3.61           2 years
Cross Customer Data
Security Breach
Litigation
            APPENDIX B: DATA BREACH SETTLEMENT CLAIMS RATE
                           COMPARISON CHART

                Case Title                    Approx. Class    No. of      Claims Rate
                                                  Size         Claims
Gordon, et al. v. Chipotle Mexican Grill,      10,000,000       6,354        < 0.1%
Inc., No. 1:17-cv-01415 (D. Colo.), ECF
103 at 1 & ECF 124 at ¶ 13
In re Target Corp. Customer Data Security      97,447,983      225,856       ~0.2%
Breach Litigation, MDL No. 14-2522 (D.
Minn.), ECF 615 at ¶¶ 4, 14
In re The Home Depot Inc. Customer Data        40,000,000      127,527       ~0.3%
Security Breach Litigation, No. 1:14-md-
02583 (N.D. Ga.), ECF 181-1 at 25 & ECF
245-1 at ¶ 3
Corona v. Sony Pictures Entertainment,           435,000        3,127        ~0.7%
Inc., No. 2:14-cv-9600 (C.D. Cal.), ECF
145-1 at 11 n.8 & ECF 164 at 2
In re LinkedIn User Privacy Litig., No. 12-     6,400,000      47,336        ~0.7%
cv-03088-EJD (N.D. Cal.), ECF 122 at 2 &
ECF 145-2 at ¶ 12
In re Banner Health Data Breach                 2,900,000      39,091        ~1.3%
Litigation, No. 2:16-cv-2696 (D. Ariz.),
ECF 170 at 1, and ECF 195-3 at ¶ 12
In re Anthem, Inc. Data Breach Litig., No.     79,200,000     1,380,000      ~1.7%
5:15-md-02617-LHK (N.D. Cal.), ECF
1007 at 4 & ECF 1007-6 at ¶ 2
Adlouni v. UCLA Health Systems                  4,500,000      108,736       ~2.4%
Auxiliary, et al., BC589243 (Cal. Super.
Ct.)
In re Experian Data Breach Litigation, No.     14,931,074      436,006       ~2.9%
8:15-cv-01592-JLS-DFM (C.D. Cal.), ECF
286-1 at 20 & ECF 309-3 at ¶ 8
Sheth v. Washington State University, No.        992,327       37,712        ~3.8%
3:17-cv-05511 (W.D. Wash.)
Winstead v. ComplyRight, Inc., No. 1:18-         665,680       28,073        ~4.2%
cv-4990 (N.D. Ill.)
In re Premera Blue Cross Customer Data          8,855,764      803,710       ~9.1%
Security Breach Litigation, No. 3:15-md-
2633 (D. Or.), ECF 273 at 12-13 & ECF
301 at ¶ 13
In re Equifax Inc. Data Security Breach        147,000,000    15,000,000     ~10.2%
Litigation, No. 1:17-md-2800 (N.D. Ga.),
ECF 739-1 at 20 & ECF 900-4 at ¶ 5
